                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION


JASON CARTER,                                        Case No. 4:19-cv-00401-CRW-CFB

        Plaintiff,

v.

MARK LUDWICK, Agent of Iowa
Department of Criminal Investigation, in
his official capacity;                                  DEFENDANTS’ RENEWED
                                                        RULE 12(b)(6) PRE-ANSWER
MARION COUNTY, IOWA;                                    MOTION TO DISMISS

REED KIOUS, Marion County Deputy
Sheriff in his individual capacity;

BILLY GENE CARTER,

        Defendants.


        COME NOW, the Defendants, Marion County, Iowa and Reed Kious, Marion

County Deputy Sheriff in his individual capacity, by and through undersigned counsel,

and for their Renewed Rule 12(b)(6) Pre-Answer Motion to Dismiss Plaintiff’s Second

Amended Complaint, state as follows:

        1.     Plaintiff filed his initial Complaint on December 12, 2019.

        2.     Plaintiff subsequently filed his First Amended Complaint on December 20,

2019.

        3.     Defendants subsequently filed their Rule 12(b)(6) Pre-Answer Motion to

Dismiss on March 30, 2020. Docs. 19, 19-1.
       4.     On May 11, 2020, Plaintiffs filed a Motion for Leave to Amend the First

Amended Complaint. Doc. 27.

       5.     Plaintiff’s Second Amended Complaint arises from the underlying criminal

investigation, criminal trial, and civil trial that arose from the murder of Plaintiff’s

mother, Shirley Carter. Plaintiff was identified by law enforcement as a person of

interest in the murder. While the criminal investigation was ongoing, Plaintiff’s father,

Bill, brought a wrongful death action against him for the death of Shirley. Plaintiff was

found civilly liable by the jury. Plaintiff was later arrested and criminally charged with

the murder of Shirley Carter, but was subsequently acquitted in the criminal trial.

       6.     Plaintiff’s Second Amended Complaint made several changes to the claims

asserted against Defendants Marion County and Reed Kious (“Kious”). Plaintiff now

asserts the following claims against these two defendants:

                  i. Count I: Violation of 42 U.S.C. § 1983 (False Arrest) (against
                     Defendant Kious);

                 ii. Count II: Violation of 42 U.S.C. § 1983 (Due Process Violation—
                     Concealment of Evidence) (against Defendant Kious);

                iii. Count III: Monell Claim (False Arrest) (against Defendant Marion
                     County);

                iv. Count IV: Malicious Prosecution (against Defendant Kious);

                 v. Count V: Abuse of Process (against Defendant Kious); and

                vi. Count VI: Violation of 42 U.S.C. § 1983 (Due Process Violation—
                    Failure to Investigate) (against Defendant Kious).

       In addition, Plaintiff also included a claim for punitive damages against all

Defendants.


                                            -2-
       7.     In comparison to the First Amended Complaint, Plaintiff has dropped

several claims against Defendants, while adding only one new claim: Count VI.

       8.     Federal Rule of Civil Procedure 12(b)(6) authorizes this Court to dismiss

any Complaint failing to “state a claim upon which relief can be granted” and, in order to

survive a Rule 12(b)(6) motion, a Complaint must “contain sufficient factual material

matter, accepted as true, to ‘state a claim to relief that is plausible on its fact.’” Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcraft v. Iqbal, 556 U.S. 662,

678–79 (2009).

       9.     As is explained in greater detail in Defendants’ Brief in Support of this

Rule 12(b)(6) Pre-Answer Motion to Dismiss, Plaintiff’s Amended Complaint is an

impermissible “shotgun pleading” and fails to present any justiciable causes of action

against Marion County, Iowa or Reed Kious.

       10.    The Defendants move under Federal Rule of Civil Procedure 12(b)(6) to

dismiss Plaintiff’s Amended Complaint as each of Plaintiff’s claims fail as a matter of

law.

       11.    Pursuant to Local Rule 7(d), a Brief in support of this Motion is filed

contemporaneously herewith.

       WHEREFORE, Defendants, Marion County, Iowa and Reed Kious, Marion

County Deputy Sheriff in his individual capacity respectfully request the Court grant their

Pre-Answer Motion to Dismiss.




                                            -3-
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ATTORNEYS FOR DEFENDANT MARK LUDWICK


                                       CERTIFICATE OF SERVICE
    The undersigned hereby certifies that a true copy of the foregoing instrument was served upon
    one of the attorneys of record for all parties to the above-entitled cause by serving the same on
    such attorney at his/her respective address/fax number as disclosed by the pleadings of record
    herein, on the 11th of June, 2020 by:

       U.S. Mail                              FAX
       Hand Delivered                         UPS
       Federal Express                        Other: EFILE

    /s/ Linda Righi




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